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   13                             UNITED STATES DISTRICT COURT
   14
                                 CENTRAL DISTRICT OF CALIFORNIA
   15
   16                                              CASE NO: 2:20-cv-05044
          JUSTIN SANCHEZ and ERIC ALEJO;
   17                                              PLAINTIFFS’ OPPOSITION TO
   18               Plaintiffs,                    MOTION TO DISMISS
          v.
   19                                              Hearing

   20     LOS ANGELES DEPARTMENT OF                Date:       September 11, 2020
          TRANSPORTATION and CITY OF               Time:       9:30 a.m.
   21     LOS ANGELES,                             Location:   Courtroom 8C
   22              Defendants.                                 350 W. 1st Street
                                                               Los Angeles, CA 90012
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     1                                     INTRODUCTION
     2            This case concerns the government’s automated collection of detailed and
     3   accurate GPS coordinates of all shared scooter rides, taken by all scooter riders,
     4   anywhere in the City of Los Angeles. The City’s radical departure from ordinary
     5   transportation regulation constitutes a violation of settled expectations of privacy,
     6   is unjustified by any legitimate planning goals, and is unreasonable on its face. It
     7   also violates California law specifically limiting the overcollection of electronic
     8   information by government agencies throughout the state. The City of Los Angeles
     9   and the Los Angeles Department of Transportation (collectively “LADOT”)
   10    dispute this, and seek premature dismissal of the action. In its filing, LADOT
   11    ignores controlling precedent that establishes the invasiveness of automated
   12    location and movement tracking. It also ignores Plaintiffs’ allegations
   13    demonstrating that such precise data collection serves no reasonable government
   14    interest, and is, in any event, not tailored to protect scooter riders from the threats
   15    associated with government ingestion of such sensitive information. Finally,
   16    LADOT fails to address the plain language of the California Electronic
   17    Communications Privacy Act (“CalECPA”), which forecloses this data-collection
   18    scheme and provides Plaintiffs a state law remedy in a civil court.
   19                                       BACKGROUND
   20             Starting in 2019, LADOT began compelling shared scooter providers to
   21    produce detailed real-time and historical information about all rides taken by
   22    scooter riders in Los Angeles through a system called the “Mobility Data
   23    Specification” (“MDS”). Compl. ¶¶ 20, 23–25. That detailed information includes
   24    the precise locations where riders start and end their trips, as well as the route they
   25    take along the way—all in real-time or near real-time. Id. ¶ 25. The information
   26    collected by MDS has the potential both to identify riders and to reveal intensely
   27    private information about their movements, interactions, home and office
   28    locations, health, and political activities. Id. ¶¶ 26–29.

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     1            Plaintiffs Justin Sanchez and Eric Alejo are residents of Los Angeles, and
     2   customers and riders of dockless scooter providers in Los Angeles. Id. ¶¶ 13–14.
     3   They have ridden scooters within the City of Los Angeles while MDS has been in
     4   effect, including on trips to and from their residences and workplaces. Id. ¶¶ 8, 13–
     5   14. LADOT has collected and stored information associated with Plaintiffs through
     6   the MDS program, including the precise trips they have taken. Id. ¶ 32.
     7            Plaintiffs bring three claims for relief. First, they claim that LADOT’s MDS
     8   program violates their rights under the Fourth Amendment to the United States
     9   Constitution. Id. ¶¶ 42–48. Second, they claim that the MDS program violates
    10   similar rights against search and seizure under Article I, Section 13, of the
    11   California Constitution. Id. ¶¶ 49–55. Third, Plaintiffs allege that MDS compels
    12   the production of their electronic information in violation of CalECPA. Id. ¶¶ 56–
    13   60. LADOT moved to dismiss all three claims. See Dkt. 18 (“Mot.”).
    14                                             ANALYSIS
    15   I.       PLAINTIFFS’ COMPLAINT STATES A CONSTITUTIONAL
    16            VIOLATION.1
    17            A.        LADOT’s automated collection of Plaintiffs’ precise location data
    18                      constitutes a search under the Fourth Amendment.
    19            The Fourth Amendment’s demand that individuals “be secure in their
    20   persons, houses, papers, and effects, against unreasonable searches and seizures”
    21   now firmly covers both location information and movement information from
    22   government collection and exploitation. See U.S. Const. amend. IV. The “basic
    23   purpose of this Amendment . . . is to safeguard the privacy and security of
    24
    25            As the relevant search and seizure rules of both the Fourth Amendment and
                  1

         Article I, Section 13, of the California Constitution are functionally coterminous,
    26   Sanchez v. County of San Diego, 464 F.3d 916, 928–29 (9th Cir. 2006) (“[T]he
    27   right to be free from unreasonable searches under [Article I, Section 13] parallels
         the Fourth Amendment inquiry.”), Plaintiffs address them together under the
    28   heading of the Fourth Amendment.

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     1   individuals against arbitrary invasions by governmental officials.” Camara v. Mun.
     2   Court of City and Cnty. of San Francisco, 387 U.S. 523, 528 (1967). “[A] Fourth
     3   Amendment search occurs when the government violates a subjective expectation
     4   of privacy that society recognizes as reasonable.” Kyllo v. United States, 533 U.S.
     5   27, 33 (2001). MDS’s automated GPS collection scheme constitutes a search
     6   because it gathers precise GPS coordinates reasonably traceable to individual
     7   scooter riders that reveal their movements and the locations where they live, work,
     8   and play. This is true regardless of the purported “anonymity” of the records, and
     9   irrespective of the privacy policies maintained by the private scooter operators.
    10                      1.   Plaintiffs enjoy an expectation of privacy in GPS coordinates
    11                           revealing their vehicular movements and locations.
    12            MDS’s location gathering scheme works two related, but independent,
    13   invasions of Plaintiffs’ settled privacy expectations: the privacy of their vehicular
    14   movements, and the privacy of their locations. First, the Fourth Amendment has
    15   long been held to protect individuals’ expectations of privacy in their movements.
    16   See, e.g., United States v. Bailey, 628 F.2d 938, 949 (6th Cir. 1980) (Keith, J.,
    17   concurring) (citing cases showing that “privacy of movement itself is deserving of
    18   Fourth Amendment protections”). In United States v. Jones, five Justices extended
    19   this principle to GPS monitoring of a vehicle on a public road. 565 U.S. 400
    20   (2012). Relevant here, five Justices agreed that continuous GPS monitoring of a
    21   vehicle impinges upon expectations of privacy and therefore constitutes a search
    22   under the Fourth Amendment. Jones, 565 U.S. at 415 (Sotomayor, J., concurring);
    23   id. at 430 (Alito, J., concurring in the judgment) (long-term collection of vehicle’s
    24   GPS coordinates violates reasonable expectation of privacy). Relevant here, these
    25   concurring Justices reasoned that the practical protections afforded by the
    26   resource-intensive task of physical observations in the pre-digital age sufficiently
    27   protected individuals’ privacy in ways that continuous GPS tracking have rendered
    28   inadequate. Id. at 429 (Alito, J., concurring) (“In the pre-computer age, the greatest

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     1   protections of privacy were neither constitutional nor statutory, but practical.”); id.
     2   at 415–16 (Sotomayor, J., concurring) (“GPS monitoring . . . evades the ordinary
     3   checks that constrain abusive law enforcement practices: ‘limited police resources
     4   and community hostility.’ Illinois v. Lidster, 540 U.S. 419, 426 (2004).”).
     5            The analysis in Jones applies to the constitutionality of LADOT’s system of
     6   mass automated GPS collection of scooter rides. As personal vehicles, MDS’s
     7   scooter tracking regime bears all the hallmarks of continuous monitoring that
     8   animated the concurring Justices’ concerns about the tracking device placed in
     9   Jones. First, MDS collects scooter movement data with a level of precision far
    10   greater than the device used 15 years ago in Jones. Compare Compl. ¶ 30
    11   (accuracy of MDS collection ranges from a few centimeters to a few dozen feet) to
    12   Jones, 565 U.S. at 403 (tracking device accurate within 50 to 100 feet). Second,
    13   MDS employs software code that automatically ingests location information in real
    14   time, on a continuous basis, in perpetuity, and maintains a large historical record of
    15   them—a level of invasion far greater than the 28 days’ worth of individual rides at
    16   issue in Jones. Compl. ¶ 25. Third, the precision of MDS location data threatens to
    17   create precisely the same “comprehensive record” about individuals’ habits as that
    18   which Justice Sotomayor warned about in Jones. Id. at 415 (Sotomayor, J.,
    19   concurring) (“GPS monitoring generates a precise, comprehensive record of a
    20   person’s public movements that reflects a wealth of detail about her familial,
    21   political, professional, religious, and sexual associations.”); see Compl. ¶¶ 26–29
    22   (describing sensitivity of location data). Since scooter riders enjoy exclusive
    23   possessory interests in the scooters when they rent them, the collection of their
    24   precise movement information violates a reasonable expectation of privacy. See
    25   Lyall v. City of Los Angeles, 807 F.3d 1178, 1187 & n.9 (9th Cir. 2015).
    26            Beyond its concern with an individual’s movement, the Fourth Amendment
    27   independently protects personal location information from unnecessary collection
    28   by the government. Controlling here is the Supreme Court’s recent decision in

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     1   Carpenter v. United States, 138 S. Ct. 2206 (2018). Carpenter invalidated the
     2   warrantless collection of historical third-party cell site location information
     3   (“CSLI”), and rejected the application of the third-party doctrine to such
     4   collection.2 The Carpenter Court held that the FBI violated the Fourth Amendment
     5   when, without a warrant based on probable cause, it requested five months of an
     6   individual’s historical CSLI from one wireless carrier and seven days of historical
     7   CSLI from another. Building upon the concurrences in Jones, it reasoned that the
     8   invasiveness of location information collected—even when individuals are in a
     9   public space—violates their expectations of privacy. “As with GPS information,
    10   the time-stamped data provides an intimate window into a person’s life, revealing
    11   not only his particular movements, but through them his ‘familial, political,
    12   professional, religious, and sexual associations.’” Id. at 2217 (quoting Jones, 565
    13   U.S. at 415 (Sotomayor, J., concurring)). This was true even though CSLI tracking
    14   is far less precise than GPS coordinates. Id. at 2219.
    15            Like mobile phones, personal scooters operate as appendages of a person, at
    16   least during the pendency of a ride. Carpenter, 138 S. Ct. at 2216 (describing both
    17   vehicle location and cell phone location as “detailed, encyclopedic, and effortlessly
    18   compiled”). And like cellular location tracking in Carpenter, automated vehicle
    19   location tracking here erodes expectations of privacy further because it “is
    20   remarkably easy, cheap, and efficient compared to traditional investigative tools.”
    21   Id. at 2217–18. The ease with which LADOT collects and stores detailed GPS
    22   records through automated software code makes the extraction, retention, and
    23   sharing of information to third parties similarly effortless. Compl. ¶¶ 23–25
    24
    25           CSLI refers to the geographic segments created by the mesh of cellular
                  2

         radio antennas that provide cellular coverage in particular location segments.
    26   Carpenter, 138 S. Ct. at 2211, 2219. When cellular phones connect to a network,
    27   the wireless carrier generates a time-stamped record of the location segment to
         which an individual cell phone connected. Id. These segments are much less
    28   precise than the GPS coordinates at issue here. Id.

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     1   (describing MDS’s automated location collection scheme); see U.S. Dep’t of
     2   Justice v. Reporters Comm. for Freedom of the Press, 489 U.S. 749, 764 (1989)
     3   (“Plainly there is a vast difference between the public records that might be found
     4   after a diligent search of [various third parties’ records] and a computerized
     5   summary located in a single clearinghouse of information.”); In re Google
     6   Location History Litig., 428 F. Supp. 3d 185, 198 (N.D. Cal. 2019) (distinguishing
     7   intrusive “automatic” search of “all of Plaintiffs movements” as categorically more
     8   intrusive than collection of “only specific movements or locations”).
     9            MDS’s data collection scheme gathers and retains both real-time and
    10   historical location and movement information, further deepening its intrusion upon
    11   Plaintiffs’ expectations of privacy. See Compl. ¶ 25 (describing real-time and near
    12   real-time elements of MDS’s location collection). “While the law enforcement
    13   tactic employed in Jones—attaching a GPS tracking device to a vehicle—required
    14   the police to know in advance that they want to follow a particular individual, the
    15   tactic employed here—accessing a historical database of GPS information—means
    16   that whoever the suspect turns out to be, he has effectively been tailed for the
    17   entire period covered by the database.” United States v. Diggs, 385 F. Supp. 3d
    18   648, 652 (N.D. Ill. 2019) (quoting Carpenter, 138 S. Ct. at 2218; internal
    19   quotations omitted); see United States v. Chavez, No. 15-CR-00285-LHK, 2019
    20   WL 1003357, at *11 (N.D. Cal. Mar. 1, 2019) (discussing real-time location
    21   tracking as opposed to historical data collection); United States v. Ellis, 270 F.
    22   Supp. 3d 1134, 1145–46 (N.D. Cal. 2017) (same). By targeting every scooter rider
    23   as they ride, and maintaining information about every ride in perpetuity, MDS
    24   undoubtedly effectuates a search under Carpenter and Jones.
    25            This conclusion accords with the Supreme Court’s instruction to “assure
    26   preservation of that degree of privacy against government that existed when the
    27   Fourth Amendment was adopted.” Carpenter, 138 S. Ct. at 2214 (quoting Kyllo,
    28   533 U.S. at 34); Jones, 565 U.S. at 406 (same quote) (majority opinion) & 420

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     1   (same quote) (Alito, J., concurring). And that degree of privacy surely prevented
     2   governmental monitoring of every vehicle ride, regardless of the length of each
     3   trip. After all, at the time of the Fourth Amendment’s adoption, the government
     4   could not instantaneously track every rented horse and carriage on a public street,
     5   nor call up a historical record of those movements over time. Nor did the
     6   expectation of privacy held by the people of that era allow for the government to
     7   follow their horse or carriage everywhere, at all times, on every trip, even if a
     8   constable could permissibly tail a particular carriage for a short period of time.
     9                      2.   LADOT’s insistence on the “anonymity” of MDS data does
    10                           not alter the search analysis.
    11            In seeking dismissal of Plaintiffs’ search claims, LADOT mischaracterizes
    12   MDS data as “anonymized” and argues that it therefore raises no Fourth
    13   Amendment concerns. Mot. at 11. This is both wrong on the facts as alleged, and
    14   irrelevant to the legal question.
    15            As a threshold matter, the extent to which MDS’s location data includes
    16   other explicit information such as the names of individual riders is irrelevant to
    17   whether the collection of precise historical and real-time location coordinates
    18   constitutes a search. The degree to which exact movement or location
    19   information—indeed, any detailed private dataset about people—can be linked
    20   directly or probabilistically to an individual is a function of the size and precision
    21   of the dataset itself, the additional information available to LADOT to identify
    22   individual riders, and the resources—in this case, merely time—LADOT or
    23   another entity wishes to expend on identification.
    24            Plaintiffs’ Complaint alleges that the greater precision of movement and
    25   location data, the easier the government can identify with confidence specific
    26   individuals within the dataset. Compl. ¶¶ 26–28 (citing relevant academic and
    27   industry research on privacy and data science). Given the exact coordinates that
    28   MDS collects, LADOT (or any third party that LADOT shares data with) needs to

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     1   expend relatively few resources to identify Plaintiffs’ trips within MDS’s tranche
     2   of data, particularly because they ride scooters to and from locations that can be
     3   easily traced to them (e.g., their homes and workplaces, see Compl. ¶ 8). Whether
     4   a City entity—be it LADOT or, for instance, the Los Angeles Police Department—
     5   utilizes MDS data to identify Plaintiffs or any other rider is irrelevant to whether
     6   the Fourth Amendment limits its collection in the first instance. 3
     7            For this reason, the Carpenter Court discussed the danger inherent in how
     8   the “Government could, in combination with other information, deduce a detailed
     9   log of Carpenter’s movements” in a fashion that violates expectations of privacy.
    10   Carpenter, 138 S. Ct. at 2218 (emphasis added); see Kyllo, 533 U.S. at 38
    11   (recognizing that “there is no necessary connection between the sophistication of
    12   the surveillance equipment and the ‘intimacy’ of the details that it observes—
    13
                  Relying on extrinsic evidence, LADOT claims that its internal policies
                  3

    14   prohibit sharing raw trip data with law enforcement. Mot. at 4–5 (citing Dkt. 19-7,
    15   “Data Protection Principles”). As stated more fully in Plaintiffs’ Response to
         LADOT’s Request for Judicial Notice, Plaintiffs oppose consideration of the
    16   contents of documents not relied upon in their Complaint. See Dkt. 24. “[A] district
    17   court may not consider any material beyond the pleadings in ruling on a Rule
         12(b)(6) motion.” Lee v. City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001).
    18   Second, Plaintiffs dispute what the Principles mean, how they are implemented,
    19   and whether they provide assurances against the unreasonable collection of
         sensitive information concerning Plaintiffs. Id. at 689 (Federal Rule of Evidence
    20   201(b) prevents a court from taking “judicial notice of a fact that is subject to
    21   reasonable dispute”). Even if considered, the Principles are of no Fourth
         Amendment consequence. Recent history demonstrates that assurances
    22   municipalities make regarding limiting law enforcement access to individuals’ data
    23   are often circumvented or ignored. See, e.g., Jesse Marx, “Smart Streetlights Are
         Now Exclusively a Tool for Police,” VOICE OF SAN DIEGO (July 20, 2020),
    24   https://www.voiceofsandiego.org/topics/public-safety/smart-streetlights-are-now-
    25   exclusively-a-tool-for-police/; Laura Wenus, “S.F. Police Accessed Private
         Cameras to Surveil Protesters, Digital Privacy Group Reveals,” SAN FRANCISCO
    26   PUBLIC PRESS (July 28, 2020), https://sfpublicpress.org/sf-police-accessed-private-
    27   cameras-to-surveil-protesters-digital-privacy-group-reveals/. The Fourth
         Amendment question concerns the collection of sensitive information, not what
    28   municipalities publicly commit to doing with that information post-collection.

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     1   which means that one cannot say (and the police cannot be assured) that use of the
     2   relatively crude equipment at issue here will always be lawful.”); Naperville Smart
     3   Meter Awareness v. City of Naperville, 900 F.3d 521, 526 (7th Cir. 2018) (holding
     4   that compelling use of “smart” electricity meters in homes constitutes a search
     5   even though “observers of smart-meter data must make some inferences to
     6   conclude, for instance, that an occupant is showering, or eating, or sleeping”).
     7            In any event, LADOT’s attempt to dismiss Plaintiffs’ search claims as a
     8   matter of law is premature. The question whether MDS data can be reasonably or
     9   confidently associated with individual riders raises a factual question that must be
    10   decided in Plaintiffs’ favor at this stage. Dahlia v. Rodriguez, 735 F.3d 1060, 1076
    11   (9th Cir. 2013) (“our task is not to resolve any factual dispute” regarding
    12   disposition of a Rule 12(b)(6) motion); Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d
    13   992, 998 (9th Cir. 2010) (“We accept as true all well-pleaded allegations of
    14   material fact, and construe them in the light most favorable to the non-moving
    15   party.”). Assessing this question requires determining the precision of MDS data,
    16   analyzing the habits of scooter riders, and conducting a probabilistic, scientific
    17   inquiry into the identifiability of precise movement information. Plaintiffs
    18   plausibly allege, based upon citations to existing literature, that associating
    19   location and scooter movement data with individuals is relatively simple—an
    20   allegation the Court must credit at this stage of the proceeding. Compl. ¶¶ 31–32;
    21   Cf. Garcia v. Country Wide Fin. Corp., No. 07-1161 VAP (JCRx), 2008 WL
    22   7842104, at *6 (C.D. Cal. Jan. 17, 2008) (plaintiff “is not required at the pleading
    23   stage to produce statistical evidence proving a disparate impact”); Turocy v. El
    24   Pollo Loco Holdings, Inc., No. 15-1343 DOC (KESx), 2017 WL 3328543, at *14
    25   n.2 (C.D. Cal. Aug. 4, 2017) (statistical dispute concerning whether certain
    26   information was misleading in securities fraud action cannot be decided on motion
    27   to dismiss).
    28

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     1                      3.   Privacy policies set by scooter companies do not change the
     2                           constitutional nature of the search nor warrant prematurely
     3                           dismissing Plaintiffs’ constitutional claims.
     4            LADOT’s Motion makes much of the scooter operators’ privacy policies,
     5   claiming that varying language contained within them constitute “agreements”
     6   with Plaintiffs that vitiate whatever expectations of privacy Plaintiffs hold in their
     7   location and movements. In raising this argument, LADOT makes three errors: it
     8   prematurely introduces disputed extrinsic evidence at the motion-to-dismiss stage;
     9   it ignores precedent and principles from cases limiting the legal impact of privacy
    10   policies on expectations of privacy; and it misconstrues the applicability of the
    11   third-party doctrine to location collection facilitated by joint private-public action.
    12            First, LADOT inappropriately relies on extraneous evidence to seek
    13   dismissal, when Plaintiffs’ plausible allegations demonstrate that neither they nor
    14   the scooter operators waived Plaintiffs’ expectations of privacy. In support of its
    15   Motion, LADOT seeks judicial notice of various privacy policies of scooter
    16   companies that it purports indicate Plaintiffs’ “agreement” to disclose their
    17   location data to LADOT. Mot. at 12–14. This is inappropriate, because Plaintiffs
    18   dispute that they in fact voluntarily and knowingly disclaimed their expectations of
    19   privacy via these privacy policies, and their Complaint does not rely upon or
    20   reference these policies. See Part I.A.2 n.3 supra & Dkt. 24 (opposing LADOT’s
    21   Request for Judicial Notice).
    22            Second, LADOT’s argument fails as a matter of law. It ignores precedent
    23   rejecting the third-party doctrine for intrusions upon individual’s locational privacy
    24   rights, and decisions casting doubt on whether privacy notices can waive
    25   individuals’ deeply held expectations of privacy as against government intrusion.
    26   For one, Carpenter explicitly declined to extend the third-party doctrine to location
    27   collection in a context where the proper functioning of an essential service (there,
    28   operation of a mobile telephone) necessitated disclosure to a third party.

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     1   Carpenter, 138 S. Ct. at 2220 (noting that “a cell phone logs a cell-site record by
     2   dint of its operation, without . . . [a] way to avoid leaving behind a trail of location
     3   data. As a result, in no meaningful sense does the user voluntarily ‘assume the risk’
     4   of turning over a comprehensive dossier of his physical movements.”; quoting
     5   Smith v. Maryland, 442 U.S. 735, 745 (1979)). Renting a shared scooter requires
     6   an individual disclose her location and movement information to the company to
     7   rent a particular scooter and be assessed a fee for its use. A rider thus no more
     8   voluntarily discloses location information to a scooter company than does a cell
     9   phone user to a mobile telephone provider.
    10            Further, privacy policies do not make enforceable contracts, and are not
    11   designed to bind consumers. For one, they are rarely read or understood by
    12   consumers. See United States v. Nosal, 676 F.3d 854, 861 (9th Cir. 2012) (en banc)
    13   (“Our access to . . . remote computers is governed by a series of private agreements
    14   and policies that most people are only dimly aware of and virtually no one reads or
    15   understands.”); “FTC Staff Issues Privacy Report, Offers Framework for
    16   Consumers, Businesses, and Policymakers,” Fed. Trade Comm’n (Dec. 1, 2010),
    17   http://bit.ly/ftcstaffissues (noting that the “notice-and-choice model, as
    18   implemented, has led to long, incomprehensible privacy policies that consumers
    19   typically do not read, let alone understand”). In any event, the Supreme Court
    20   recently rejected the argument that Fourth Amendment rights can be determined by
    21   private form contracts. In Byrd v. United States, 138 S. Ct. 1518 (2018), the Court
    22   held that drivers have a reasonable expectation of privacy in a rental car even when
    23   they drive the car in violation of the rental agreement. Id. at 1529 (rental
    24   agreements, like terms of service or privacy policies, “concern risk allocation
    25   between private parties. . . . But that risk allocation has little to do with whether
    26   one would have a reasonable expectation of privacy in the rental car if, for
    27   example, he or she otherwise has lawful possession of and control over the car.”).
    28            Byrd follows a line of cases where courts have declined to find private

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     1   contracts dispositive of individuals’ expectations of privacy. In United States v.
     2   Thomas, for instance, the Ninth Circuit held that the “technical violation of a
     3   leasing contract” alone is insufficient to vitiate an unauthorized renter’s legitimate
     4   expectation of privacy in a rental car. 447 F.3d 1191, 1198 (9th Cir. 2006); cf.
     5   United States v. Yang, 958 F.3d 851 (9th Cir. 2020).4 And in United States v.
     6   Owens, the Tenth Circuit did not let a motel’s private terms govern the lodger’s
     7   expectation of privacy, noting, “[a]ll motel guests cannot be expected to be
     8   familiar with the detailed internal policies and bookkeeping procedures of the inns
     9   where they lodge.” 782 F.2d 146, 150 (10th Cir. 1986). This principle aligns with
    10   the Supreme Court’s caution against allowing individual companies’ privacy
    11   policies to “make a crazy quilt of the Fourth Amendment.” Smith, 442 U.S. at 745.
    12            Third, LADOT ignores its own role in compelling the disclosure of
    13   Plaintiffs’ data, recasting its data-sharing mandate as a voluntary bargain entered
    14   into between scooter riders and scooter operators. Mot. at 11. Yet it is precisely
    15   LADOT that forces operators to provide Plaintiffs’ location data, rather than
    16   exploiting an already existing tranche of locations that Plaintiffs have voluntarily
    17   provided to public agencies. Plaintiffs’ “choice to share data imposed by fiat is no
    18   choice at all.” Naperville Smart Meter Awareness, 900 F.3d at 527. Real-time
    19   tracking is quintessentially a case of the government “requiring a third party to
    20   collect” information, In re Application of U.S. for Historical Cell Site Data, 724
    21   F.3d 600, 610 (5th Cir. 2013), which has always constituted a Fourth Amendment
    22   search. Skinner v. Ry. Labor Executives’ Ass’n, 489 U.S. 602, 614 (1989) (“[T]he
    23   [Fourth] Amendment protects against such intrusions if the private party acted as
    24
    25           Although the court in Yang held that the defendant did not have a
                  4

         reasonable expectation of privacy in a rental car past the expiration of the rental
    26   agreement, it reaffirmed that mere technical violation of the agreement alone was
    27   insufficient to nullify the defendant’s expectation of privacy. 958 F.3d at 861.
         Moreover, Yang was arguably wrongly decided considering the Supreme Court’s
    28   decision in Byrd.

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     1   an instrument or agent of the Government.”). For these reasons, LADOT errs in
     2   placing any weight upon the privacy policies that scooter operators force their
     3   customers to agree to—policies that, in any event, are not bilateral agreements and,
     4   as such, may only be relied upon and enforced by scooter users rather than scooter
     5   operators. 5
     6            B.        MDS’s location collection is unreasonable and not tethered to
     7                      legitimate government purposes.
     8            Having established that the collection of precise movement and location
     9   records constitutes a search, the Court must now “examin[e] the totality of the
    10   circumstances to determine whether [the] search is reasonable within the meaning
    11   of the Fourth Amendment.” Samson v. California, 547 U.S. 843, 848 (2006)
    12   (internal quotation marks omitted). The reasonableness of administrative or special
    13   needs searches requires balancing (1) “the nature of the privacy interest allegedly
    14   compromised” by the search, (2) “the character of the intrusion imposed” by the
    15   Government, and (3) “the nature and immediacy of the government’s concerns and
    16   the efficacy of the [search] in meeting them.” See Bd. of Educ. of Indep. Sch. Dist.
    17   No. 92 v. Earls, 536 U.S. 822, 830–34 (2002).
    18            A review of the Earls factors reveals that MDS’s location gathering mandate
    19   is unreasonable. First, collection of precise location and movement information en
    20   masse is uniquely intrusive of Plaintiffs’ expectations of privacy, and occurs
    21   without any meaningful mitigation. Second, Plaintiffs plausibly allege that
    22   LADOT possesses no meaningful justification for the collection of precise location
    23
    24           The scooter companies themselves vigorously protested the use of MDS to
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    25   collect precise location records from them, both in advocacy and in litigation. See,
         e.g., Compl. ¶ 40. LADOT forcing the companies to notify their riders about
    26   location disclosure, over the companies’ objections, cannot reasonably be
    27   construed as a voluntary agreement between the companies and riders. Cf. Smith,
         442 U.S. at 740 n.5 (the government may not destroy an otherwise reasonable
    28   expectation of privacy by putting the public on notice that it will do so).

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     1   information, let alone a reasonable one. Third, even if LADOT proffered a
     2   legitimate justification, it fails to provide a meaningful opportunity for pre-
     3   compliance review or any kind of neutral arbitration.
     4                      1.   The nature and character of MDS’s automated and pervasive
     5                           collection of location information is deeply invasive.
     6            As explained in Part I.A above, MDS’s deployment of an “easy, cheap, and
     7   efficient” GPS tracking regime invades the sacrosanct privacy interests Plaintiffs
     8   have over their movement and location information. Carpenter, 138 S. Ct. at
     9   2217–18. The strength of this interest supports Plaintiffs’ position.
    10            The character of MDS’s intrusion into these privacy interests is likewise
    11   deeply invasive. When considering whether a search is minimally or substantially
    12   intrusive, courts evaluate a variety of factors, including, inter alia, “the duration of
    13   the search or stop, the manner in which government agents determine which
    14   individual to search, the notice given to individuals that they are subject to search
    15   and the opportunity to avoid the search . . . as well as the methods employed in the
    16   search.” Cassidy v. Chertoff, 471 F.3d 67, 78–79 (2d Cir. 2006) (collecting
    17   Supreme Court precedent; internal citations omitted). None of these factors inure
    18   to LADOT’s benefit. MDS compels the collection and retention of all trip data
    19   from every vehicle operator on a continuous, automated basis—irrespective of who
    20   the rider is, without any notifications, and with no way for riders to avoid the
    21   collection or opt out of the scheme. Compl. ¶ ¶ 25, 30.6 It is therefore neither
    22   “limited in scope, relevant in purpose, [nor] specific in directive.” See v. City of
    23
    24           LADOT’s discussion of the City of Los Angeles’ general authority to
                  6

    25   create a data collection and regulatory scheme is therefore irrelevant to the precise
         Fourth Amendment question before the Court, which concerns a subset of
    26   LADOT’s scooter permitting program that demands collection of maximally
    27   precise location records. See Mot. 5–7. If the GPS collection mandate did not exist,
         or was significantly altered to preclude association with individual riders, the
    28   Fourth Amendment analysis changes significantly.

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     1   Seattle, 387 U.S. 541, 544 (1967); see Airbnb, Inc. v. City of New York, 373 F.
     2   Supp. 3d 467, 494 (S.D.N.Y. 2019) (continuous, monthly short-term rental
     3   registries “cannot be credibly described as ‘limited in scope’”); Willner v.
     4   Thornburgh, 928 F.2d 1185, 1190 (D.C. Cir. 1991) (whether the person had
     5   “notice of an impending intrusion” and had a “large measure of control over
     6   whether he or she will be subject to” the search discussed as mitigating factors in
     7   the reasonableness analysis).
     8            LADOT’s reference to extrinsic statements made in an outside LADOT
     9   document called the “Data Protection Principles” does not change this analysis.
    10   Not only is consideration of the Principles inappropriate at the motion to dismiss
    11   stage and inappropriate as subject of judicial notice, see Part I.A.2 n.3 supra, the
    12   document on its face fails to provide the reasonable protections necessary to dull
    13   the impact of MDS’s invasive search scheme. It states LADOT will engage in
    14   “data minimization” practices “where possible,” without making such a
    15   commitment categorically and without specifying any methods for minimization.
    16   See Dkt. 19-7 at 124. Further, the document’s characterization of GPS data as
    17   “vehicle data,” as opposed to “individual data,” id. at 123, is belied by the fact that
    18   the collected data pertains to individual rides, not individual vehicles. The
    19   Principles do little to mitigate the prospect that Plaintiffs’ precise location and
    20   movement data will be collected or abused, since they do not “provide specific
    21   limitations on the manner and place of the search so as to limit the possibility of
    22   abuse.” Tarabochia v. Adkins, 766 F.3d 1115, 1122 (9th Cir. 2014) (emphasis
    23   added); see Earls, 536 U.S. at 852 (Ginsburg, J., dissenting) (“There is a difference
    24   between imperfect tailoring and no tailoring at all.”). For these reasons, the
    25   intrusiveness of the search and the nature of the information collected weigh
    26   heavily against LADOT.
    27
    28

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     1                      2.   LADOT fails to proffer a specific regulatory interest furthered
     2                           by collecting Plaintiffs’ precise location and movement data.
     3            On the other side of the ledger, LADOT’s Motion fails to articulate a
     4   reasonable or rational basis for collecting Plaintiffs’ precise location and
     5   movement data. Plaintiffs allege that while LADOT published a top-line message
     6   about using MDS to “[a]ctively manage private companies who operate in our
     7   public space,” it failed to articulate specific purposes for why MDS must collect
     8   precise, granular location data. Compl. ¶ 34. LADOT’s Motion does not address
     9   these allegations, and does not offer any justification beyond a conclusory
    10   statement that the scooter permitting application, and compliance with MDS,
    11   “promot[es] public safety and ensur[es] efficient use of dockless devices.” Mot. at
    12   11. But the Court may “not simply accept the [government’s] invocation of a
    13   ‘special need.’” Ferguson v. City of Charleston, 532 U.S. 67, 81 (2001). Instead, it
    14   must undertake “a ‘close review’ of the scheme at issue.” Id. (quoting Chandler v.
    15   Miller, 520 U.S. 305, 321 (1997)). LADOT’s insistence on the legality of
    16   regulating scooter companies in general is therefore irrelevant to whether the
    17   location tracking requirement is constitutionally reasonable.
    18            A review of Plaintiffs’ allegations reveals that MDS’s location collection
    19   scheme is unsupported by any specific regulatory purpose. LADOT developed the
    20   data collection scheme to experiment with data collection, rather than to address
    21   legitimate regulatory needs. Compl. ¶ 35. At the time of the Complaints’ filing,
    22   LADOT had failed to respond to a binding Los Angeles City Council directive to
    23   provide “specific regulatory purposes for the collection and use of each type of
    24   data required by MDS” by February 25. Compl. ¶ 39. Further, the City Council’s
    25   mandate to LADOT to create a permitting program included requirements that did
    26   not need, or are otherwise ill-served by, MDS’s location gathering scheme. See,
    27   e.g., Compl. ¶ 37 (citing example of geographic vehicle distributions as not
    28   requiring GPS coordinates of riders). LADOT’s Motion does not include any

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     1   specific use cases that require the collection of granular GPS coordinates, despite
     2   the program being in effect for over one year. McMorris v. Alioto, 567 F.2d 897,
     3   899 (9th Cir. 1978) (administrative searches of public places “must be limited and
     4   no more intrusive than necessary to protect against the danger to be avoided, but
     5   nevertheless reasonably effective to discover the materials sought.”). It is therefore
     6   not “limited in its intrusiveness as is consistent with satisfaction of the
     7   administrative need that justifies it.” United States v. Grey, 959 F.3d 1166, 1183
     8   (9th Cir. 2020) (internal citation omitted).
     9            That MDS’s searches occur in an administrative, not criminal, context does
    10   not change this analysis. Warrant requirements for administrative searches may
    11   stand even in the absence of criminal penalties for failure to abide by the
    12   regulatory scheme. Marshall v. Barlow’s, Inc., 436 U.S. 307, 318 n.13 (1978)
    13   (invalidating administrative scheme concerning worksite inspections despite the
    14   scheme’s failure to criminalize refusal of inspections). The searches here are no
    15   less invasive because they occur outside of a criminal law enforcement setting.
    16   Safaie v. City of Los Angeles, No. 19-3921 FMO (PJWx), 2020 WL 2501450, at *2
    17   (C.D. Cal. Mar. 23, 2020) (“Jones itself does not suggest that its holding is limited
    18   to searches relating to potential criminal violations.”). 7
    19                      3.   LADOT fails to provide riders a meaningful opportunity for
    20                           pre-compliance review or any mode of neutral arbitration.
    21            MDS’s location gathering mandates, like other “searches conducted outside
    22   the judicial process, without prior approval by a judge or a magistrate judge, are
    23
    24            Notably, LADOT employs a sizeable enforcement division that enforces
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    25   street safety rules and regulations, including for scooter riders. See “What We Do,”
         LADOT Parking Enforcement, https://ladotparking.azurewebsites.net/parking-
    26   enforcement/ (last visited Aug. 11, 2020) (stating that “LADOT traffic officers
    27   enforce all parking laws in the California Vehicle Code and Los Angeles
         Municipal Code,” issued 2.3 million citations last year, and “recover over 4,000
    28   stolen vehicles annually”).

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     1   per se unreasonable subject only to a few specifically established and well-
     2   delineated exceptions.” City of Los Angeles, Calif. v. Patel, 576 U.S. 409, 419
     3   (2015) (internal quotations and citation omitted). Whether that is in the form of an
     4   administrative subpoena, administrative review, or other means, suspicionless
     5   invasions on established expectations of privacy in the administrative context
     6   require some neutral evaluation to be reasonable. Id. at 420. MDS provides for
     7   none of this, either for the operators or for riders like Plaintiffs.
     8            LADOT claims that such pre-compliance review is unnecessary, arguing
     9   that scooters (or perhaps vehicles in general) are “closely regulated industries” that
    10   form an exception to the general administrative search requirements. Not so. The
    11   Patel Court emphasized that the “closely regulated industry” exception to ordinary
    12   Fourth Amendment rules is a narrow one that the Court has only applied to four
    13   industries (liquor sales, firearms dealing, mining, and running an automobile
    14   junkyard) with a “history of government oversight.” Patel, 576 U.S. at 424.
    15   Scooters specifically, and public vehicle ride shares generally, are not among them.
    16   In Patel, even a highly regulated industry like hotel management did not fall within
    17   this category, let alone a novel industry like vehicle ride shares and electronic
    18   scooters. Id. at 425 (“History is relevant when determining whether an industry is
    19   closely regulated.”).
    20            LADOT relies heavily on a line of cases brought by taxi cab drivers in New
    21   York and Washington, D.C., challenging various regulatory rules that require cab
    22   operators to transmit data concerning their business to regulatory authorities. Mot.
    23   at 9–11 (citing cases). But expectations of privacy at workplaces in regulated
    24   industries diminish markedly as compared to those that private individuals enjoy
    25   outside of working hours. Skinner, 489 U.S. at 627 (in considering railroad
    26   workers, “the expectations of privacy of covered employees are diminished by
    27   reason of their participation in an industry that is regulated pervasively to ensure
    28   safety, a goal dependent, in substantial part, on the health and fitness of covered

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     1   employees.”); see Buliga v. New York City Taxi Limousine Comm’n, No. 07 CIV.
     2   6507 (DLC), 2007 WL 4547738, at *2 (S.D.N.Y. Dec. 21, 2007) (“Adults who
     3   choose to participate in a heavily regulated industry, such as the taxicab industry,
     4   have a diminished expectation of privacy, particularly in information related to the
     5   goals of the industry regulation.”). The GPS requirement challenged in those cases
     6   does not appear to be any more invasive than the pre-digital requirement that cab
     7   drivers record start and location points. Id. (“Taxicabs in New York City have long
     8   been subject to regulation by the TLC, and those regulations have required
     9   cabdrivers to report not only the times and locations of trips but also the amount of
    10   fares.”); Carniol v. New York City Taxi & Limousine Comm’n, 975 N.Y.S.2d 842,
    11   845 (Sup. Ct. 2013) (regulations were designed in part to prevent persistent
    12   problem with overcharging of fares to riders).
    13            Conversely, owners and renters of private scooters expect no such
    14   regulation, and no history of regulatory necessity demands scooter companies
    15   provide detailed start, stop, and route information to regulators. Patel, 576 U.S. at
    16   424 (exceptions for closely regulated business are to be construed narrowly).
    17   Indeed, few scooter riders, if any, would know that LADOT collects en masse their
    18   GPS coordinates. See Carniol, 975 N.Y.S.2d at 848 (diminished expectation of
    19   privacy in part due to notice provided to drivers of the GPS collection system).
    20            Even if some strained interpretation of “closely regulated” industries could
    21   encompass electronic scooter sharing, MDS fails the three additional criteria that
    22   such industries must establish to survive Fourth Amendment scrutiny: (1) the
    23   search must be informed by a substantial government interest; (2) the search must
    24   be necessary to further the regulatory scheme; and (3) the search program must
    25   provide a constitutionally adequate substitute for a warrant. Patel, 576 U.S. at 426.
    26   Plaintiffs allege that LADOT possesses no substantial government interest in
    27   collecting precise location information, and communicated none in response to the
    28   City’s request. Compl. ¶¶ 34–40. Plaintiffs also plausibly allege that individualized

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     1   location gathering is not necessary to advance broad-based transportation planning
     2   goals, and certainly not with the availability of privacy-preserving techniques that
     3   can dramatically cut the sensitivity and precision of the data. Id. Finally, MDS
     4   provides riders with zero protections or reviews; riders must, without any
     5   knowledge, provide their location and movement information as a condition of
     6   riding an electric scooter within City limits, and have no way to know that such a
     7   location gathering scheme exists other than if they are regular readers of niche
     8   transportation industry press. Id. at ¶ 32.
     9   II.      PLAINTIFFS MAY SEEK RELIEF UNDER CALECPA FOR
    10            LADOT’S UNLAWFUL LOCATION COLLECTION.
    11            When the Legislature enacted CalECPA in 2015, it intended to clarify and
    12   strengthen the legal protections against government access to electronic
    13   information that existed at the time, including under the federal and California
    14   Constitutions and the restrictions in the federal Electronic Communications
    15   Privacy Act.8 Protecting people’s location information is at the core of CalECPA’s
    16   rigorous requirements. See Cal. Pen. Code §§ 1546(d) (including location
    17   information in the definition of “electronic communication information”); 1546(g)
    18   (including location information in the definition of “electronic device
    19   information.”).
    20
    21
    22
    23            See Assem. Comm. on Privacy & Consumer Protection, Analysis of SB
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         178, as amended June 2, 2015, p. 6 (“Unfortunately, technology continued to
    24   advance rapidly since the [federal ECPA’s] inception nearly 30 years ago and
    25   amendments to the Act have not always kept pace. . . . The author contends that the
         federal statute ‘has not been meaningfully updated to account for modern
    26   technology,’ ... [and] also cites a variety of situations where California law already
    27   explicitly requires a warrant for many kinds of information . . . . As a result, the
         author and supporters believe that existing law is insufficient to protect all forms of
    28   electronic communications and their meta-data . . .”).

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     1            A.        CalECPA applies to all government entities; it is not limited to the
     2                      criminal context.
     3            LADOT argues that CalECPA’s presence in the Penal Code, and the
     4   language of Penal Code Section 690, limit the application of CalECPA to criminal
     5   actions. Mot. at 14–16. LADOT’s argument cannot be squared with the text of
     6   CalECPA and misreads Section 690.
     7            The Court’s analysis of CalECPA must begin with the language of the
     8   statute. If a statute’s language is clear, then “the Legislature is presumed to have
     9   meant what it said, and the plain meaning of the language governs.” Kizer v.
    10   Hanna, 48 Cal. 3d 1, 8 (1989). Here, CalECPA explicitly limits government access
    11   to information by prohibiting “government entities” from compelling the
    12   production of electronic communication information or electronic device
    13   information without appropriate legal process, like a search warrant, wiretap order,
    14   or subpoena. Cal. Pen. Code §1546.1(a)–(c).
    15            This prohibition applies to all “government entities,” and is not limited to
    16   criminal actions. CalECPA defines “government entity” as “a department or
    17   agency of the state or a political individual acting for or on behalf of the state or a
    18   political subdivision thereof.” Cal. Pen. Code §1546(5)(i). And the City of Los
    19   Angeles is a political subdivision of the state, both under California law 9 and
    20
                  Statutory definitions of “political subdivision” throughout California law
                  9

    21   include cities. See Cal. Gov. Code § 8698 (a political subdivision is defined as “the
    22   state, any city, city and county, county, special district, or school district or public
         agency authorized by law”); Cal. Gov. Code § 8557 (defining “political
    23   subdivision” as any city, city and county, county, district, or other local
    24   governmental agency or public agency authorized by law”); Cal. Elec. Code
         § 14026 (a political subdivision is defined as “a geographic area of representation
    25   created for the provision of government services, including, but not limited to, a
    26   general law county, charter city, charter city and county, school district,
         community college district, or other district organized pursuant to state law”); Cal.
    27   Pub. Util. Code § 1402 (a political subdivision is defined as “a county, city and
    28   county, city, municipal water district, county water district, irrigation district,
                                                                                            (cont’d)


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     1   federal ECPA. 10 The Court’s analysis should end here: as a government entity, the
     2   City of Los Angeles must comply with CalECPA.
     3            Even if the Court were to seek further inquiry, CalECPA’s placement in the
     4   Penal Code is irrelevant, as demonstrated by the directly analogous Federal ECPA.
     5   Like CalECPA, the limitations on government access to information in federal
     6   ECPA apply to all “governmental entities,” defined as “a department or agency of
     7   the United States or any State or political subdivision thereof.” 18 U.S.C.
     8   § 2711(4). Agencies with solely civil law-enforcement authority like the Federal
     9   Trade Commission must comply with ECPA’s limits.11 See F.T.C. v. Netscape
    10   Commc’ns Corp., 196 F.R.D. 559, 559 (N.D. Cal. 2000) (holding that the FTC
    11   could not compel production of documents because of ECPA’s limits on
    12   government entities’ access to information). This is despite the fact that, like
    13   CalECPA, federal ECPA is located in the section of the United States Code
    14   addressing crimes and criminal procedure, Title 18. Like its federal precursor,
    15   CalECPA applies to all government entities seeking access to information, and is
    16   not limited by its location in the code.
    17            Other provisions of CalECPA confirm that it applies beyond criminal
    18   actions. First, one way that government entities can comply with CalECPA is
    19   through “a subpoena issued pursuant to existing state law,” so long as that
    20   subpoena is “not sought for the purpose of investigating or prosecuting a criminal
    21   offense.” Cal. Pen. Code §1546.1(b)(4). Similarly, CalECPA allows government
    22
    23   public utility district, or any other public corporation”); Cal. Lab. Code § 1721 (a
         political subdivision “includes any county, city, district, public housing authority,
    24   or public agency of the state, and assessment or improvement districts”).
    25
                10
                   Doe v. City of San Diego, No. 12-CV-0689-MMA DHB, 2013 WL
         2338713, at *4 (S.D. Cal. May 28, 2013) (holding that “the City of San Diego and
    26   the San Diego Police Department are clearly ‘governmental entities’ within the
    27   meaning of [ECPA].”).
                11
                   The Federal Trade Commission is directed by statute to certify any
    28   criminal matters to the Department of Justice. 15 U.S.C. § 56(b).

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     1   entities to “use an … administrative or civil discovery subpoena” to reach certain
     2   kinds of information. Cal. Pen. Code § 1546.1(i). CalECPA simply cannot be
     3   limited to criminal actions when some provisions apply only if the government is
     4   not investigating or prosecuting a crime.
     5            Second, CalECPA’s exceptions demonstrate that all government demands
     6   for electronic information are within its scope. In particular, Section 1546.1(j)
     7   allows the Public Utilities Commission (“PUC”) and State Energy Resources
     8   Conservation and Development Commission (“SERCDC”) to obtain energy or
     9   water supply and consumption information under applicable state laws. Cal. Pen.
    10   Code § 1546.1(j). If CalECPA only applied to criminal proceedings, there would
    11   be no need for an exception for access to energy and water-supply information by
    12   regulatory agencies like the PUC and SERCDC. See TRW Inc. v. Andrews, 534
    13   U.S. 19, 31 (2001) (it is a “cardinal principle of statutory construction” that the
    14   statute be interpreted such that “no clause, sentence, or world shall be
    15   superfluous”) (internal citation omitted); City of San Jose v. Superior Court, 5 Cal.
    16   4th 47, 55 (1993) (“We ordinarily reject interpretations that render particular terms
    17   of a statute mere surplusage”).
    18            Finally, Section 690 of the Penal Code is not to the contrary. That section,
    19   passed in 1951, specified that Part II of the Penal Code applied to “municipal and
    20   inferior courts.” People v. Ross, 221 Cal. App. 2d 443, 446 (Ct. App. 1963).
    21   Section 690 therefore expanded application of certain rules to courts where they
    22   might not previously have applied. It did not, as LADOT argues, limit the legal
    23   requirements in the Penal Code from applying to contexts outside of criminal
    24   prosecutions. CalECPA itself leaves no doubt as to its scope: all government
    25   entities, including cities, must comply.
    26            B.        CalECPA gives Plaintiffs the right to seek relief in this Court for
    27                      the unlawful collection of their location information.
    28            LADOT contends that Plaintiffs are unable to seek relief in this Court

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     1   because CalECPA Section 1546.4(b) provides that the Attorney General can
     2   commence a civil action to compel compliance with CalECPA. Mot. at 16–17.
     3   LADOT is incorrect.
     4            Under Section 1546.4(c), “an individual whose information is targeted” in a
     5   manner inconsistent with the federal or state constitutions or CalECPA can seek
     6   “to void or modify the warrant, order, or process, or to order the destruction of any
     7   information” unlawfully obtained. Cal. Pen. Code § 1546.4(c). Service providers
     8   who receive unlawful process have the same right. Id. MDS targets Plaintiffs’
     9   information in violation of CalECPA and the U.S. and California Constitutions.
    10   Compl. ¶¶ 42–60. CalECPA’s legislative history shows that these rights to address
    11   violations in court, held by the Attorney General, service providers, and
    12   individuals whose information was targeted by unlawful process, were all aspects
    13   of a single goal: to provide “authorization to affected entities and the Attorney
    14   General to take action to uphold” CalECPA. 12
    15            LADOT’s motion to dismiss focuses on Penal Code Section 1546.4(b), but
    16   offers no argument for why Plaintiffs cannot seek relief under the Penal Code
    17   Section that forms the basis for their claim here: Section 1546.4(c). Mot. at 16–17;
    18   Compl. ¶ 60. CalECPA gives Plaintiffs that right. For the aforementioned reasons,
    19   LADOT’s motion to dismiss should be denied.
    20   III.     PLAINTIFFS PROPERLY NAME LADOT AS A DEFENDANT.
    21            LADOT also moves to dismiss the Department of Transportation, arguing
    22   that it is not a “person” subject to suit under 42 U.S.C. § 1983. 13 LADOT’s motion
    23
                   See Assem. Comm. on Privacy & Consumer Protection, Analysis of SB
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    24   178, as amended June 2, 2015, p. 8 (explaining that CalECPA “requires reasonable
    25   notification to the target of the request, prohibits the use in court of information
         obtained in violation of these requirements, and provides authorization to affected
    26   entities and the Attorney General to take action to uphold these requirements.”)
    27   (emphasis added).
                13
                   LADOT does not seek dismissal of the Department of Transportation with
    28   respect to Plaintiffs’ claims under CalECPA.

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     1   should be denied for two reasons. First, LADOT misstates the holding of United
     2   States v. Kama, 394 F.3d 1236, 1239 (9th Cir. 2005) as “holding municipal police
     3   departments are not considered ‘persons’ within the meaning of 42 U.S.C. § 1983.”
     4   Mot. at 17. In fact, Kama says nothing of the sort. Rather, Kama held that a
     5   defendant had waived an objection to the district court’s purposed abuse of
     6   discretion. Kama, 394 F.3d at 1238. A concurring opinion in Kama includes a
     7   passing reference to the question of whether municipal departments are subject to
     8   suit under Section 1983, but nothing more. Id. at 1239. Kama does not command
     9   dismissal of LADOT.
    10            Second, Hurth v. County of Los Angeles provides the appropriate framework
    11   for analyzing the Department of Transportation’s presence in this case. No. 09-
    12   5423 SVW (PJWx), 2009 WL 10696491, at *5 (C.D. Cal. Oct. 28, 2009). In that
    13   case, the court denied the County of Los Angeles’ motion to dismiss the Los
    14   Angeles County Sheriff’s Department, rejecting the reasoning of some courts that
    15   have held municipal departments are not “persons” under Section 1983. Noting
    16   that Monell v. New York City Department of Social Services, 436 U.S. 658, 660–61
    17   (1978), permitted a Section 1983 suit against a city department, the court in Hurth
    18   held that municipal departments may be subject to suit. Hurth, 2009 WL
    19   10696491, at *5. Under Hurth’s reasoning, LADOT should remain a defendant.
    20                                       CONCLUSION
    21            For the foregoing reasons, Plaintiffs respectfully request the Court deny
    22   LADOT’s Motion to Dismiss.
    23
    24   DATED: August 21, 2020                Respectfully submitted,
    25                                         By:      /s/ Mohammad Tajsar
    26                                               Mohammad Tajsar
                                                     Counsel for Plaintiffs
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